Case 3:17-cv-00101-RDM Document 329 Filed 06/25/19 Page 1 of 2

WILMERHALE
June 25, 2019 Karin Dryhurst
Via ECF .Y ; _ #4202 663 6248 (t)

+1 202 663 6363 (f)
karin.dryhurst@wilmerhale.com

Honorable Thomas I, Vanaskie
JAMS, Inc.
1717 Arch Street, Suite 3810
Philadelphia, Pennsylvania 19103

Re: Documents Submitted By the CFPB for In Camera Review
Dear Judge Vanaskie:

Defendants respectfully submit this response to the CFPB’s June 14, 2019 letter, Doc.
325. In that letter, the CFPB identified 245 documents comprising an “inclusive subset” of the
documents submitted for in camera review. The CFPB also asserted for the first time the
attorney-client privilege or work product protection over 190 of the 245 emails (78%) in the
inclusive subset. Although the CFPB only identified emails from the inclusive subset, it asserts
the new bases for withholding over many of the remaining documents, as well. See Doc. 325 at
6 n.9. ,

The process of reviewing the CFPB’s documents in camera should be the same process
used to review Defendants’ documents in camera. On March 4, 2019, Defendants submitted 409
documents withheld on the basis of the work product protection for in camera review. At that
time, Defendants asserted that some of the documents were also, or alternatively, protected by
the attorney-client privilege. The Court reviewed all 409 documents to determine whether they
were properly withheld, notwithstanding that the CFPB had not challenged the additional bases
for withholding. See Doc. 310 at 15-30, Defendants did not challenge this approach because, as
the Court previously noted: “[T]he question is, Was a privilege properly asserted? Were the
documents properly withheld'or properly redacted?” Feb. 5 Tr. at 20:2-8. This approach would
also prevent the CFPB from essentially insulating from review 78% of the documents submitted.

Defendants’ understanding is that reviewing all the documents should not significantly
burden the Court. In light of the new. privilege descriptions and Defendants’ lack of access to
these documents, it is difficult to determine the extent to which the new assertions cover all or
portions of the documents identified. However, it appears that in most instances the new
assertions cover only portions of the documents at issue, so most of the documents would be
reviewed in any event. And it is still Defendants’ position that a detailed report explaining the
bases for the Court’s conclusions is unnecessary, so it would not be necessary to parse the
specific basis for withholding portions of the documents.

Wilmer Cutler Pickering Hale and Dorr up, 1875 Pennsylvania Avenue NW, Washington, DC 20006

Beijing Berlin Boston Brussels Denver Frankfurt London Los Angeles New York Palo Alto Washington
Case 3:17-cv-00101-RDM Document 329 Filed 06/25/19 Page 2 of 2

WILMERHALE

June 25, 2019
Page 2

Defendants respectfully request that the Court review all documents in the CFPB’s
inclusive subset in their entirety to determine whether they were properly withheld.

Respectfully submitted,

Karin Dryhurst
